      Case 2:13-cr-00026-LRS         ECF No. 160     filed 06/11/13   PageID.418 Page 1 of 1




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 5                            UNITED STATES DISTRICT COURT
 6                         FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA                            No. CR-13-026-LRS-2
 9
                           Plaintiff,                 ORDER GRANTING DEFENDANT’S
10                                                    UNOPPOSED MOTION TO MODIFY
11 vs.
12 ERNESTO HERNANDEZ CRUZ, a/k/a                      ☒      MOTION

13 Ernesto Hernandez,                                        (ECF No. 158)

14
                           Defendant.
15
16         Before    the     court      is   Defendant’s   unopposed     Motion   to   Modify
17   Conditions of Release.
18         IT IS ORDERED the unopposed Motion to Modify, ECF No. 158, is
19   GRANTED.         For employment purposes, Defendant’s curfew is modified to
20   permit him to leave his home at 3:30 a.m. on work days, or as otherwise permitted
21   by Pretrial Services.
22         DATED June 11, 2013.
23
24                               S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
25
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27
28
     ORDER GRANTING DEFENDANT’S
     UNOPPOSED MOTION TO MODIFY - 1
